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.»\U -1'1'2 {Re\'. llt'l{tl OrderOl`l)etention Pending`l'rial

UNITED STATES DIsTRtCT COURT

for lite

District of Massachusetts

United States of America

\.".

ANTON]O R|VERA

Case No. 18-10219-LTS

 

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ORDER OF I)ETENTION PENI)ING TRIAL
Part l - Eligibility for Detention

Upon tlte

65 Motion ot`the Governtnent attorney pursuant to 18 U.S.C. § 3142(1`)(1}, or
g lvlotiott ofthe Government or Court`s own motion pursuant to 18 U.S.C. § 3142(1)(2].

the Cotnt held a detention hearing and found that detention is warranted. This order sets forth the Coutt’s findings of fact
and conclusions of law. as required by 18 U.S.C. § 3142(i), itt addition to any other findings made at the hearing

l'art ll - Findings of Faet and Law as to Presumptions under § 3142(e)

CI .»\. Rel)uttahle Presumption Arises Under 18 U.S.C. § 3142(e)(2} (prt»vam_t t-m!ami-_t: 'I`|tere is a rebuttable

presumption that no cottdition or combination of conditions will reasonably assure the safety of any other person
and tlte community because tlte following conditions have been ntet:

13 (l) the defendant is charged with otte ofthe following crimes described in 18 U.S.C. § 3142{0(1):
CI(:\) a crime ofviolence. a violation of 18 U.S.C.§ 1591_.or an offense listed in 18 U.S.C.
§ 2332b(g)(5)(B) for which a maxitttunt tertn ofintprisonment of 10 years or more is prescribed: or
D(b) an offense for which the maximum sentence is life imprisonment or deatlt; or
Cl(e) an offense for which a maximum term ofitnprisonntent of 10 years or tttore is prescribed in tlte
Controlled Substances Act (21 U.S.C. §§ 801-9{}4). the Contro||ed Substances ltttport and Export Act
{21 U.S.C. §§ 951-9?1). or Chapter ?05 ofTit|e 46. U.S.C. (46 U.S.C. §§ ?0501-?0508); or
El (d) atty felony if such person has been convicted oftwo or tnore offenses described in subparagraphs
{a) through (c) oftltis paragraph. or two or tnore State or local offenses that would have been offenses
described in subparagraphs (a) through (c) of this paragraph ifa circumstance giving rise to Federal
jurisdiction had existed, or a combination of such offettses; or
D(e) atty felony that is not otherwise a crime of violence but involves:
(i) a minor victint; (ii) tlte possession ofa firearm or destructive device (as defined in 18 U.S.C. § 921)
(iii) any ether dangerous weapon; or (iv) a failure to register under 18 U.S.C. § 2250; and
13 (2) tlte defendant has previously been convicted ofa Federa| offense that is described in 18 U.S.C.

§ 3142(1)(1)_. or ofa Stale or local Offeltse that would have been such an offense ifa circumstance giving rise
to Federa| jurisdiction had existed; aan

t'_'l (3) tlte offense described in paragraph (2) above for which the defendant has been convicted was
committed while tlte defendant was on release pending trial for a Federal, State, or local offense: and

fl (4) a period of not more than five years has elapsed since tlte date ofconviction. or the release ot`the
defendant front itnprisonment. for the offense described in paragraph (2) above, whichever is later.

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Cl B. Rebuttable Presumption Arises Under 18 U.S.C. § 3142(e)(3) (narcorics, jirearm, other aMmes): There is a
rebuttable presumption that no condition or combination of conditions will reasonably assure the appearance of the

defendant as required and the safety of the community because there is probable cause to believe that the defendant
committed one or more of the following offenses:

M (l) an offense for which a maximum term of imprisonment of 10 years or more is prescribed in the

Contro|led Substances Act (21 U.S.C. §§ 801-904), the Contro|led Substances lmport and Export Act (21
U.S.C. §§ 951-971), or Chapter 705 of Title 46, U.S.C. (46 U.S.C. §§ 70501~70508);

Cl (2) an offense under 18 U.S.C. §§ 924(c), 956(a), or 2332b;

13 (3) an offense listed in 18 U.S.C. § 2332b(g)(5)(B) for which a maximum term of imprisonment of 10 years
or more is prescribed;

13 (4) an offense under Chapter 77 ofTitle 18, U.S.C. (18 U.S.C. §§ 1581-1597) for which a maximum term of
imprisonment of 20 years or more is prescribed; or

Cl (5) an offense involving a minor victim under 18 U.S.C. §§ 1201, 1591 , 2241, 2242, 2244(a)(l), 2245.

2251, 2251A, 2252(3)(1), 2252(a)(2), 2252(a)(3), 2252A(a)(t), 2252A(a)(2), 2252A(a)(3). 2252A(a)(4),
2260, 2421, 2422, 2423, or 2425.

lJ C. Conclusions Regarding Applicability of Any Prcsumption Establishcd Above

M The defendant has not introduced sufficient evidence to rebut the presumption above, and detention is
Ot'dered 011 that baSiS. (Parl III need not be completed)

OR

Cl The defendant has presented evidence sufficient to rebut the presumption, but aher considering the
presumption and the other factors discussed below, detention is warranted

Part III - Analysis and Statemcnt of the Reasons for Detention

Aher considering the factors set forth in 18 U.S.C. § 3142(g) and the information presented at the detention hearing,
the Court concludes that the defendant must be detained pending trial because the Govemment has proven:

tZi By clear and convincing evidence that no condition or combination of conditions of release will reasonably assure
the safety of any other person and the community.

121 By a preponderance of evidence that no condition or combination of conditions of release will reasonably assure
the defendant’s appearance as required.

ln addition to any findings made on the record at the hearing, the reasons for detention include the following:

il Weight of evidence against the defendant is strong

3 Subject to lengthy period of incarceration if convicted

tJ Prior criminal history

Cl Participation in criminal activity while on probation, parole, or supervision
l‘_'l History of violence or use of weapons

13 History of alcohol or substance abuse

21 Lack of stable employment

13 Lack of stable residence

t‘J Lack of financially responsible sureties

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Cl Lack of significant community or family ties to this district

91 Significant family or other ties outside the United States

Cl Lack of legal status in the United States

Cl Subject to removal or deportation after serving any period of incarceration
Cl Prior failure to appear in court as ordered

ij Prior attempt(s) to evade law enforcement

Cl Use of alias(es) or false documents

Cl Background information unknown or unverified

Cl Prior violations of probation, parole, or supervised release

O'I`HER REASONS OR FURTHER EXPLANATION:

The defendant is charged in a multi-count indictment with conspiracy to possess with intent to distribute and to distribute 400 grams or
more of fentanyl. in violation of 21 U.S.C. sec. 846, possession with intent to distribute and distribution of 40 grams or more of
fentanyl. in violation of 21 U.S.C. sec. 841, and possession with intent to distribute and distribution of 400 grams or more of fentanyl in
violation of 21 U.S.C. sec. 841. The evidence against hlm, at this juncture. appears strong. Specifically, but without limitation, the
evidence is that the defendant Rivera arrived for a pre-arranged buy with a Conhdential Source (CS) on May 4. 2018 prepared to sell
19 grams of pure fentanyl. (The investigation involved 2 Confidentlal Sources but it is unclear which CS undertook which transaction).
Due to a misunderstanding as to the amount of drugs invoived, and whether the fentanyl was to be pure or cut. the deal was not
consummated On May 16. 2018. Rivera met a CS in Lawrence Massachusetts in connection with a pre~arranged sale of 20 fingers
(200 grams) of fentanyl. After discussing the quality and quantity of drugs with the CS, Rivera escorted the CS to a Bodega. where
the CS retrieved the drugs from the men's room. The CS paid Rivera $3.000 for the drugs. On June 7, 2018, Rivera was seen exiting
a residence in Lawrence. MA with someone carrying a half-full black garbage bag. Rivera and the man drove a white lnfinity to
another location where they met up with a black Jeep, which was driven by Rivera's co-defendant Deuris Sierra. Rivera drove to a
gas station in the vicinity of Life Storage in Methuen. Sierra. driving the black Jeep. met with the CS at Life Storage and gave him a
half-full black garbage bag. Upon transferring the drugs, Rivera and Sierra were arrested. The bag was found to contain 500 fingers
(5 kilograms) of fentanyl. The investigation also revealed that Rivera subscribed to several telephones that were involved in the
various transactions. Whi|e the evidence presented in court does not indicate that Rivera is a leader of the conspiracy, the evidence is
that he was entrusted with large amounts of money. and a bag of fentanyl with a street value of approximately $300,000.00.

Rivera was born in the Dominican Republic and he has lived |n Lawrence. MA for 12 years. He is a naturalized citizen. He has
family in the Dominican Republic and travels there at least annually. He also has a supportive family in the United States. and
proposes that he be released to live with his mother, one of his children and the mother of that child at a home owned by his sister.

Rivera is 28 years old, with no significant criminal record. He attended two years of high school in the Dominican Republic. He
reports owning a business, M&S Transportation LLC, that owns trucks to be rented out. One of the vehicles has been repossessed.
He also reports having purchased a four-unit residence in 2015 which is rented out. lt is unclear where the funds for that purchase
came from. The defendant has financial problems including an overdrawn bank account, and he recently pawned the title to his car.

The evidence shows that the defendant has been entrusted with an extremely large amount of a very dangerous drug. as well as
with a great amount of cash. l-le faces a lengthy prison sentence if convicted. Given his strong ties to the Dominican Republic. this
court finds that the risk of flight is too great, and that conditions cannot be imposed which would reasonably insure his appearance in
court. ln addition. given the lack of stable employment and a verifiable source of employment, the risk of continued involvement in
illegal activities to support his family precludes setting conditions of release.

Part IV - Directions Regarding Detention

The defendant is remanded to the custody of the Attomey General or to the Attorney General’s designated representative for
confinement in a corrections facility separate, to the extent practicable, from persons awaiting or serving sentences or being
held in custody pending appeal. The defendant must be afforded a reasonable opportunity for private consultation with
defense counsel. On order of a court of the United States or on request of an attorney for the Govemment, the person in
charge of the corrections facility must deliver the defendant to a United States Marshal for the purpose of an appearance in
connection with a court proceeding.

Date: 08/23/2013 /s/Judith Gail Dein
United States Magistrate Judge

 

 

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